Case 8:11-cv-00471-SDM-MAP Document 5 Filed 03/09/11 Page 1 of 2 PageID 10




                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

GREG SLOAN,

       Plaintiff,                                    CASE NO. 11-cv-471-T-23MAP

               v.

VALENTINE & KEBARTAS, INC.,

      Defendant.
_____________________________________/

                                   NOTICE OF SETTLEMENT

       NOW COMES the Plaintiff, GREG SLOAN, by and through the undersigned counsel

and hereby informs the court that a settlement of the present matter has been reached and all

parties to the present matter are currently in the process of executing the aforementioned

settlement agreement, which Plaintiff anticipates will be completed within the next 30 days.

       Plaintiff therefore requests that this honorable Court vacate all dates currently set on

calendar for the present matter.

                                                     RESPECTFULLY SUBMITTED,

                                                 By: /s/ James Pacitti_______
                                                    James Pacitti (FBN: 119768)
                                                     Krohn & Moss, Ltd
                                                    10474 Santa Monica Blvd, Suite 401
                                                     Los Angeles, CA 90025
                                                    Phone: (323) 988-2400 x 230
                                                    Fax: (866) 385-1408
                                                    jpacitti@consumerlawcenter.com
                                                    Attorney for Plaintiff


                                                                                                1
                                    NOTICE OF SETTLEMENT
Case 8:11-cv-00471-SDM-MAP Document 5 Filed 03/09/11 Page 2 of 2 PageID 11




                                CERTIFICATE OF SERVICE

       I hereby certify that on March 9, 2011, I electronically filed the foregoing Notice of

Settlement with the Clerk of the Court by using the CM/ECF System. A copy of said Notice was

electronically submitted to Attorney for Defendant by email at rhandley@v-k-i.com.



                                                            /s/ James Pacitti
                                                            James Pacitti
                                                            Attorney for Plaintiff




                                                                                                2
                                  NOTICE OF SETTLEMENT
